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13
                               UNITED STATES DISTRICT COURT
14                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
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     In re: CATHODE RAY TUBE (CRT)                   Case No. Master File No. 3:07-cv-5944-SC
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     ANTITRUST LITIGATION
                                                     MDL No. 1917
19
     This Document Relates to:
                                                     [PROPOSED] ORDER GRANTING
20                                                   DEFENDANTS’ JOINT MOTION FOR
     Dell Inc. and Dell Products L.P. v. Hitachi     SUMMARY JUDGMENT BASED UPON
21                                                   PLAINTIFFS’ FOREIGN
     Ltd. et al., No. 13-cv-02171
                                                     TRANSACTIONS BARRED BY THE
22                                                   FTAIA
                       .
23
                                                     Judge::    Hon. Samuel P. Conti
24                                                   Court:     Courtroom 1, 17th Floor
                                                     Date:      February 6, 2015, 10 a.m.
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     [PROPOSED] ORDER GRANTING DEFENDANTS’ JOINT MOTION FOR SUMMARY JUDGMENT BASED UPON
     PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA (3:07-CV-05944 SC, MDL NO. 1917)
     Case 4:07-cv-05944-JST Document 3003-4 Filed 11/07/14 Page 2 of 2



 1                 On February 6, 2014, the Court held a hearing on Defendants Joint Motion for

 2   Summary Judgment Based Upon Plaintiffs’ Foreign Transactions Barred by the FTAIA in the

 3   above-captioned actions. The Court having considered all papers filed in support of and in

 4   opposition to said Joint Motion, and having heard argument of counsel, and good

 5   cause appearing, IT IS HEREBY ORDERED that the Joint Motion is GRANTED in its entirety.

 6          Judgment is entered in favor of Defendants on all of Plaintiffs’ claims barred by the

 7   FTAIA in the above-captioned actions for liability and damages.

 8          IT IS SO ORDERED.

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     DATED: ____________________, 2015                   _________________________________
11                                                       Honorable Samuel Conti
12                                                       U.S. District Judge

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      [PROPOSED] ORDER GRANTING DEFENDANTS’ JOINT MOTION FOR SUMMARY JUDGMENT BASED UPON
      PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA (3:07-CV-05944 SC, MDL NO. 1917)
